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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1169V
                                    Filed: February 24, 2017
                                           Unpublished

****************************
GINA DODD,                                *
                                          *
                     Petitioner,          *     Damages Decision Based on Proffer;
v.                                        *     Influenza (“Flu”) Vaccine; Shoulder
                                          *     Injury Related to Vaccine Administration
SECRETARY OF HEALTH                       *     (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                       *     (“SPU”)
                                          *
                     Respondent.          *
                                          *
****************************
C. Clark Hodgson, III, Muller Brazil, LLP, Dresher, PA, for petitioner.
Lynn E. Ricciardella, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

      On September 20, 2016, Gina Dodd (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act”). Petitioner alleged that she suffered left
shoulder injuries from an influenza (“flu”) vaccination she received on September 11,
2015. The case was assigned to the Special Processing Unit (“SPU”) of the Office of
Special Masters.

        On December 23, 2016, the undersigned issued a ruling on entitlement finding
petitioner entitled to compensation for a shoulder injury related to vaccine administration
(“SIRVA”). On February 23, 2017, respondent filed a proffer on award of compensation
(“Proffer”) indicating petitioner should be awarded $101,000.00. Proffer at 1. In the
Proffer, respondent represented that petitioner agrees with the proffered award. Id.


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Based on the record as a whole, the undersigned finds that petitioner is entitled to an
award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $101,000.00 in the form of a check payable to
petitioner, Gina Dodd. This amount represents compensation for all damages that
would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                      2
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                       IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                 OFFICE OF SPECIAL MASTERS



    GINA DODD,

                       Petitioner,

    v.                                                       No. 16-1169V
                                                             Chief Special Master Dorsey
    SECRETARY OF HEALTH AND                                  ECF
    HUMAN SERVICES,

                       Respondent.


                    RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

         I.       Compensation for Vaccine Injury-Related Items:

               Respondent proffers that, based on the evidence of record, petitioner, Gina Dodd, should

be awarded $101,000.00. This amount represents all elements of compensation to which

petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

         II.      Form of the Award:

               The parties recommend that the compensation provided to Gina Dodd should be made in

a lump sum payment as described below, and request that the chief special master’s decision and

the Court’s judgment award the following:1

               (1) A lump sum payment of $101,000.00 in the form of a check payable to petitioner,
                   Gina Dodd. This amount accounts for all elements of compensation under 42 U.S.C.
                   § 300aa-15(a) to which petitioner would be entitled.

Petitioner is a competent adult. Evidence of guardianship is not required in this case.



1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses and future pain and suffering.
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                           Respectfully submitted,

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                           /s/ Lynn E. Ricciardella
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Dated: February 23, 2017
